Case 2:04-Cv-02389-.]PI\/|-tmp Document 31 Filed 07/21/05 Page 1 of 2 Page|D 58

IN THE UNITED STATES DISTRICT coURf"£l'-’ BY -`
FOR THE wESTERN DISTRICT OF TENNESSEE

 

 

wESTERN DIvIsIoN 05JUL2| PH 3° 58
HMMBM iGUiD
ARTURO AGUIRRE cRUZ Individually CLEHK,U.S ¥ °TPF‘TCOURT
and as NeXt of Kin to MAXIMINO W@Q” aff

 

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}
AGUIRRE, DeCeaSed; MARIA LUZ )
VENEGAS ESTRADA, Individually and )
as Next of Kin to MAXIMINO AGUIRRE, )
Deceased, and on Behalf of MARITZA }
AGUIRRE VENEGAS, as a Minor; and )
AURELLIANO VALDES BLAS, )
)
)
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)

Plaintiffs,
VS. NO. 04-2389 Ml/P
FORD MOTOR COMPANY,

Defendant.

 

ORDER CONDITIONALLY GRAN'I`ING MO'I'ION
FOR ADMISSION

 

This matter is before the Court on the July 18, 2005, motion
of Kevin R. Dean for leave to appear as attorney for Plaintiff,
Maximino Aguirre, in this matter.

It is hereby ordered that the motion is CONDITIONALLY
GRANTED and that counsel may appear pro hac Vice upon the filing
of a certificate that the attorney has obtained and is familiar
with the local rules of this court, including the Guidelines of
Professional Courtesy and Conduct, pursuant to Local Rule
83.1(10)(1).

IT IS SO ORDERED THIE`> o?, DAY OF JU.lY, 2005.

…QWOM

Tt s document entered on ha docket shth in com Har‘.ca P. MCCALLA
wilh Fau\e 58 and/or 79(3 )FRGP on ITED STATES DISTRICT JUDGE

 

   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CV-02389 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

